          Case 24-32747 Document 29 Filed in TXSB on 09/23/24 Page 1 of 4



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In Re:                                                  §                 Case No. 24-32747
                                                        §
KEVIN HUNTER, JR.                                       §                 Chapter 7
                                                        §
Debtor                                                  §                 Judge Eduardo V. Rodriguez

                  DEBTOR’S MOTION FOR AUTHORITY TO REDEEM
           PERSONAL PROPERTY AND APPROVAL OF ASSOCIATED FINANCING
                    AND ATTORNEY’S FEES UNDER 11 U.S.C. § 722

                                                    NOTICE

         This motion seeks an order that may adversely affect you. If you oppose the motion,
         you should immediately contact the moving party to resolve the dispute. If you and
         the moving party cannot agree, you must file a response and send a copy to the moving
         party. You must file and serve your response within twenty-one (21) days of the date
         this was served on you. Your response must state why the motion should not be
         granted. If you do not file a timely response, the relief may be granted without further
         notice to you. If you oppose the motion and have not reached an agreement, you must
         attend the hearing. Unless the parties agree otherwise, the court may consider evidence
         at the hearing and may decide the motion at the hearing. Represented parties should
         act through their attorney.

TO THE HONORABLE JUDGE OF THIS COURT:

        Debtor(s), KEVIN HUNTER, JR., by and through Debtor’s Counsel, the R ESOLVE LEGAL GROUP,
moves the Court pursuant to 11 U.S.C. § 722 and FED. R. BANKR. P. 6008 for a Redemption Order on the
following grounds:

    1. Property. The item to be redeemed is tangible personal property intended primarily for personal,
       family or household use is more particularly described as follows (the “Vehicle” or the “Property”):

                 Year/Make/Model:          2020 Tesla Model 3
                 VIN:                      5YJ3E1EA5LF606325

    2. Creditor. The property is subject to a lien held by the following creditor (the “Creditor”):

                      Creditor:            SHELL FEDERAL CREDIT UNION
                                           Attn: Bankruptcy
                                           P.O. Box 578
                                           Deer Park, TX 77536-0578

         The debt owing the Creditor is a dischargeable consumer debt.

    3. Exemption or Interest of Estate. The interest of the Debtor(s) in such property is exempt or has
       been abandoned by the estate and the debt (which is secured by said property to the extent of the
       allowed secured claim of the Creditor) is a dischargeable consumer debt.
DEBTOR(S)’ MOTION FOR AUTHORITY TO REDEEM                                                             PAGE 1
In re: Kevin Hunter, Jr., Ch. 7 Case No. 24-32747
          Case 24-32747 Document 29 Filed in TXSB on 09/23/24 Page 2 of 4




    4. Redemption Value. The allowed secured claim of said Creditor for purposes of redemption, the
       “redemption value,” should be determined to be not more than $19,485.00, as evidenced by the
       attached written appraisal attached hereto as Exhibit 1 and incorporated by reference as if set forth
       fully herein.

    5. Lump Sum Payment to Redeem Property. Arrangements have been made by the
        Debtor (s) to pay to the said Creditor up to the aforesaid amount in a lump sum should
        this motion be granted.
    6. Financing Terms for Redemption. The payment for this proposed redemption is to be
       financed through PRIZM FINANCIAL CO. LLC, with all of the particulars of that financing
       (interest rate, finance charge, amount financed, total of payments, amount of payments, etc.)
       set forth in full detail in the attachment(s) hereto as Exhibit 2 and incorporated by reference
       as if set forth fully herein.. As demonstrated there, the monthly amount, term of the payments
       and the overall amount of the repayment will be decreased significantly through the proposed
       redemption.

    7. Additional Legal Fees for Redemption. Moreover, the Debtor has agreed to borrow and
       disperse additional funds in the amount of $750.00, from their loan with Prizm Financial Co.
       LLC (the “Lender”), for representation of the debtor(s) in securing for the benefit of the
       debtor(s) an order granting the debtor(s) the right to redeem under 11 U.S.C. 722 a certain
       motor vehicle, such compensation being in addition to that previously disclosed and being
       for services rendered beyond the scope of the legal services to have been rendered for such
       compensation heretofore disclosed.

    8. Notice. Notice is hereby given that unless an objection is made to this motion within twenty-
       one (21) days following the date of service below, an order sustaining the motion may be
       granted by the Court.

    9. Witness and Exhibit List.

        a. The following witnesses may be called by Debtor(s)’ Counsel:

                 i.   Debtor, Kevin Hunter, Jr.
                 ii. Alan D. Borden, attorney at Resolve Legal Group
                 iii. Representative of Prizm Financial Co., LLC
                 iv. Debtor(s)’ Counsel reserves the right to call any witness designated by any other party.

        b. The following exhibits may be offered on behalf of the Debtor herein:
                 i.   Exhibit 1: Appraisal of Vehicle
                 ii. Exhibit 2: Financing with Lender
                 iii. Judicial Notice: Debtor(s)’ Counsel requests that the Court take judicial notice of the
                 docket report, pleadings, affidavits, petition, schedules, plan, and related documents on file
                 with the Court in the above-referenced case.
                 iv. Business Records Affidavits, if applicable


DEBTOR(S)’ MOTION FOR AUTHORITY TO REDEEM                                                              PAGE 2
In re: Kevin Hunter, Jr., Ch. 7 Case No. 24-32747
          Case 24-32747 Document 29 Filed in TXSB on 09/23/24 Page 3 of 4




    10. Request for Telephonic Hearing. Debtor(s)’ Counsel requests a telephonic hearing on the
        Motion, if permitted by the Court.


         WHEREFORE, PREMISES CONSIDERED Debtor(s) respectfully request the Court to order the
said Creditor to accept from the Debtor(s) the lump sum payment of the redemption value and release their
lien of record. In the event the said Creditor objects to this motion, the Debtor(s) request the Court to
determine the value of the property as of the time of the hearing on such objection, approve the post-petition
financing by the chapter 7 debtor, and to grant such other and further relief as the Debtor is justly entitled
or the Court finds is in the interest of fairness and justice.

                                                   Respectfully     submitted,

                                                   RESOLVE LAW GROUP,
                                                   a registered dba of The Price Law Group, APC


                                                   /s/ Alan D. Borden
                                                   Alan D. Borden
                                                   TX Bar No. 58250
                                                   801 Travis Street, Suite 2101
                                                   Houston, TX 77002
                                                   Phone: (832) 709-1941
                                                   Email: alan@resolvelawgroup.com

                                                   ATTORNEY FOR DEBTOR(S)


                                       CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on or before September 23, 2024, a true and correct copy of
the foregoing motion was served electronically and/or by regular, first class U.S. mail, postage prepaid, on
the Office of the U.S. Trustee, the Chapter 7 Trustee, the Debtor, the following creditor affected by the
motion, and to each party, representative, or attorney who has appeared herein or otherwise is receiving ECF
notices in the above-referenced case:

                 Debtor: Kevin Hunter, Jr.
                         17417 W. Lake Houston
                         Pkwy
                         Humble, TX 77346

                 Creditor: (VIA CERTIFIED MAIL)
                           SHELL FEDERAL CREDIT UNION
                           Attn: Bankruptcy
                           P.O. Box 578
                           Deer Park, TX 77536-0578




DEBTOR(S)’ MOTION FOR AUTHORITY TO REDEEM                                                              PAGE 3
In re: Kevin Hunter, Jr. Ch. 7 Case No. 24-32747
          Case 24-32747 Document 29 Filed in TXSB on 09/23/24 Page 4 of 4



                           (VIA CERTIFIED MAIL)
                           SHELL FEDERAL CREDIT UNION
                           Attn: Jose Rodriguez, CEO/Manager
                           201 E. 13th Street
                           Deer Park, TX 77536-3260




                                                   /s/ Alan D. Borden
                                                   Alan D. Borden




DEBTOR(S)’ MOTION FOR AUTHORITY TO REDEEM                                   PAGE 4
In re: Kevin Hunter, Jr. Ch. 7 Case No. 24-32747
